
USCA1 Opinion

	





          March 10, 1995                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                   _______________            No. 94-1556                           DEBRA A. RODGERS, INDIVIDUALLY,                         AND BARRY BROWN AND DEBRA A. RODGERS                         IN THEIR CAPACITY AS CO-GUARDIANS OF                        BRIAN RODGERS, AN INCOMPETENT PERSON,                               Plaintiffs, Appellants,                                          v.                            AMERICAN HONDA MOTOR COMPANY,                                 Defendant, Appellee.                                   _______________                                     ERRATA SHEET
                                     ERRATA SHEET                      The  opinion of  this Court  issued on  January 31,            1995, is amended as follows:                      1.   The  first  line listing  appellee counsel  is            corrected to read as follows:                      Andrey  L. Frey, orally;  Wayne D. Struble, Richard
                      _______________           ________________  _______            A. Bowman, . . . 
            _________                      2.  The last three sentences of the first paragraph            of the opinion are struck.



                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1556                           DEBRA A. RODGERS, INDIVIDUALLY,                         AND BARRY BROWN AND DEBRA A. RODGERS                         IN THEIR CAPACITY AS CO-GUARDIANS OF                        BRIAN RODGERS, AN INCOMPETENT PERSON,                               Plaintiffs, Appellants,                                          v.                            AMERICAN HONDA MOTOR COMPANY,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                            Aldrich, Senior Circuit Judge,
                                     ____________________                              and Stahl, Circuit Judge.
                                         _____________                                 ____________________            John C. Cabaniss with whom Cunningham,  Lyons &amp; Cabaniss, S.C. was
            ________________           ___________________________________        on brief for appellants.            Andrew L.  Frey,  orally; Wayne  D.  Struble,  Richard A.  Bowman,
            _______________           __________________   __________________        Timothy  J.  Mattson, Bowman  and Brooke,  Peter  W. Culley,  David E.
        ____________________  __________________   ________________   ________        Barry, and Price, Atwood,  Scribner, Allen, Smith &amp; Lancaster  were on
        _____      __________________________________________________        brief for appellee.                                 ____________________                                   January 31, 1995                                 ____________________



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                      ALDRICH, Senior  Circuit Judge.   In 1965,  in line
                               _____________________            with  the  growing  concern  over the  fatal  consequence  of            contributory  negligence,  the  Maine Legislature  enacted  a            statute  permitting recovery,  but reduced damages,  in cases            where a  plaintiff, though  negligent, was  less so  than the            defendant.  Me.  Rev. Stat.  Ann. tit. 14,    156.   Although            there  were  a variety  of  state  statutes  in  effect,  the            Legislature  chose the English  one, see  Wing v.  Morse, 300
                                                 ___  ____     _____            A.2d 491,  497 (Me.  1973), essentially  word  for word,  see
                                                                      ___            Comparative  Negligence:   Some  New Problems  for the  Maine
            _____________________________________________________________            Courts, 18 Me. L. Rev. 65, 76 (1966).  The statute is unique,
            ______            and we are not to look for enlightment to decisions in sister            states.                       The   facts  are   simple.     Brian  Rodgers,   an            experienced ATV (all  terrain vehicle)  rider, found  himself            without his helmet  at a  popular Maine spot  where a  friend            with  a three wheel  ATV asked him  to help repair  it.  Some            repairs  having been  made, plaintiff1  gave it a  trial run.            It flipped and he  struck his head, receiving brain-crippling            injuries.   On his motion, liability was tried first, and the            jury's answers  to special  questions terminated the  case in            defendant's favor.  Plaintiff has one basic claim on  appeal.            We will deal with it  rather than with defendant's contention                                
            ____________________            1.  Strictly, Rodgers  is now incompetent and  plaintiffs are            his  guardians.  They  are joined by  his wife, individually.            We will speak in terms, however, of Rodgers as plaintiff.                                         -4-



            that judgment in its favor would have been proper even if the            evidence plaintiff objected to had been excluded.                      For  the  liability  trial,  by  motion  in limine,            plaintiff sought an order excluding testimony that he had not            been  wearing  a helmet.    This  was of  importance  because            defendant had  uncontradicted expert  testimony that,  with a            helmet, plaintiff's injuries  would have been  insignificant.            Plaintiff's position was that, however much the  absence of a            helmet may have added to the damages, it was not a fault that            caused  the  accident,  and  that  under  the  Maine  statute            comparative fault for the accident itself was the determining            factor.   The  court ruled  otherwise, and  the evidence  was            subsequently  admitted.    This was  crucial  because  unless            plaintiff's fault was less than  defendant's he was barred by            the statute from  recovery.  If  fault was to be  measured by            weighing  responsibility for  damages, as  distinguished from            for the event, on the uncontradicted evidence, it being clear            that plaintiff knew  it was best to wear a  helmet, he had no            case.                      Analysis of the statute persuades us that the court            was correct.  It provides, in relevant part,                           Where  any  person suffers  death or                      damage  as  a  result partly  of  his own                      fault and  partly  of the  fault  of  any                      other  person  or  persons,  a  claim  in                      respect of that death or damage shall not                      be defeated by reason of the fault of the                      person  suffering  the  damage,  but  the                      damages  recoverable  in respect  thereof                                         -5-



                      shall be reduced  to such  extent as  the                      jury  thinks  just  and equitable  having                      regard to  the  claimant's share  in  the                      responsibility for the damage.                           Where damages are recoverable by any                      person by virtue of this section, subject                      to  such reduction  as is  mentioned, the                      court shall instruct the jury to find and                      record the total damages which would have                      been recoverable if  the claimant had not                      been  at fault, and  further instruct the                      jury  to  reduce  the  total  damages  by                      dollars and cents, and not by percentage,                      to the extent deemed just  and equitable,                      having  regard to the claimant's share in                      the responsibility for  the damages,  and                      instruct the jury to return  both amounts                      with the knowledge that the lesser figure                      is the final verdict in the case.                           Fault  means  negligence, breach  of                      statutory duty  or other act  or omission                      which  gives rise to  a liability in tort                      or would, apart  from this section,  give                      rise  to  the  defense   of  contributory                      negligence.                           If  such claimant  is  found by  the                      jury to be equally at fault, the claimant                      shall not recover.            Me. Rev. Stat. Ann. tit. 14,   156.                      This  is  a  lengthy   statute.    See,  e.g.,  the
                                                         ___   ____            Wisconsin  statute the court quoted in Wing, 300 A.2d at 498.
                                                   ____            The  first consideration that  struck us was  the rigidity of            the  final, all-important  cut-off paragraph  as against  the            sensitivity of  the language preceding it.   Damage reduction            shall "not  [be] by  percentage, [but]  to the  extent deemed            just and equitable, having regard to the claimant's  share in            the responsibility for  the damages," but then the blunt cut-                                         -6-



            off,  "If claimant  is  found by  the jury  to be  equally at            fault."   The change in tone was apparently felt by the Maine            court as well.  It observed, "This paragraph was not found in            the original draft of the Bill considered by the  Legislature            and is quite obviously the result of a political compromise."            Striking "at  fault," and  substituting "responsible  for the            damage  sustained,"  the  court proceeded  to  interpret  the            paragraph as saying,                      If  in  the  apportionment  process  such                      claimant  is  found  by the  jury  to  be                      equally   responsible   for  the   damage                      sustained  or  more  responsible for  the                      damage sustained than the  defendant, the                      claimant shall not recover.            Wing, 300 A.2d at 501.
            ____                      With the uncontradicted  evidence that  plaintiff's            failure to wear a helmet was  responsible for essentially all            the damage sustained, this reading of the statute is fatal to            his case.   The Wing decision itself  is distinguishable, but
                            ____            its  language is  an answer to  all plaintiffs'  claims, writ            large; the helmet evidence was admissible on liability.                      Affirmed.
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